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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SCOTT LINDBERG                              )
                                            )
                      Plaintiff,            )       Case No. 1:16-cv-05599
                                            )
              v.                            )       Judge Virginia M. Kendall
                                            )
FILLCOR, LLC d/b/a                          )       Magistrate Judge Sidney I. Schenkier
Integra Asset Management                    )
and ROBERT STEWARD                          )
                                            )
                      Defendants.           )

    PLAINTIFF’S UNOPPOSED RULE 58(d) MOTION FOR ENTRY OF RULE 54
                            JUDGMENT

       Plaintiff, Scott Lindberg (“Lindberg”), by his attorneys Gaffney & Gaffney P.C., for

his UNOPPOSED Rule 58(d) Motion for Entry of Rule 54 Judgment, states:

       1.     On March 29, 2019, the Parties reached an agreement before the Magistrate Judge

(#118) regarding the previously filed Motion to Alter Judgment (#110).

       2.     The Parties agree to the terms contained within the Judgment attached as Exhibit

A. This motion and Exhibit A have been reviewed by Defendants’ Counsel and is Unopposed.

       3.     The parties waive the entry of findings of fact and conclusions of law under

Federal Rules of Civil Procedure 52.

  Wherefore, Plaintiff requests that this Court enter the Judgment attached as Exhibit A.



                                            Respectfully submitted,

                                            /s/Glenn R. Gaffney
                                            Glenn R. Gaffney
                                            Attorney for Plaintiff
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                    NOTICE OF FILING/CERTIFICATE OF SERVICE

       Glenn R. Gaffney certifies that on April 5, 2019, he e-filed the above and foregoing

Plaintiff’s Unopposed Rule 58(d) Motion for Entry of Rule 54 Judgment, via the case

management/electronic case filing system with the Clerk of the U.S. District Court. The Parties

may access this filing through the Court’s electronic filing system and notice of this filing will be

sent to the following Parties by operation of the Court’s electronic filing system.



                                              Respectfully submitted,

                                              /s/Glenn R. Gaffney
                                              Glenn R. Gaffney
                                              Attorney for Plaintiff




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